            Case 5:18-cv-00262-SLP Document 1 Filed 03/23/18 Page 1 of 3



                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

1. UNITED STATES OF AMERICA,                                                 )
      Plaintiff,                                                             )
                                                                             )
v.                                                                           )         CIV-18-262-SLP
                                                                             )
1. TONY DOUGLAS LACY,                                                        )
2. KAMI FAYE LACY,                                                           )
   a/k/a Kami Faye Odum,                                                     )
3. POTTAWATOMIE COUNTY TREASURER,                                            )
4. BOARD OF COUNTY COMMISSIONERS OF                                          )
   POTTAWATOMIE COUNTY;                                                      )
      Defendants.                                                            )

                                  COMPLAINT FOR FORECLOSURE

       1.        Jurisdiction depends upon 28 U.S.C. ' 1345.

       2.        Tony Douglas Lacy defaulted on promissory notes and mortgage, attached

as Exhibits 1, 2, 3 and 4 hereto (recorded in Pottawatomie County on March 9, 2015. in

Book 1310 at Page 237). Plaintiff is entitled to judgment for the amount due on the note:

       Principal ................................................................................................. $ 290,953.85
       Accrued interest as of January 31, 2018................................................ $ 19,663.33
       Amount due as of January 31, 2018 ...................................................... $ 310,617.18

plus accruing interest on the principal at the rate of $28.46 per diem from January 31, 2018,

to the date of judgment. Verification of indebtedness is attached as Exhibit 5.

       3.        Plaintiff is entitled to foreclosure of its first mortgage lien and sale of the

mortgaged premises in partial satisfaction of the note and debt owing.

       4.        Legal description of the mortgaged premises:
            Case 5:18-cv-00262-SLP Document 1 Filed 03/23/18 Page 2 of 3



               Surface interest only:

               The Southeast Quarter of the Southwest Quarter (SE/4 SW/4)
               and the Southwest Quarter of the Southeast Quarter (SW/4
               SE/4) and a tract described as beginning at the Southwest
               Corner of the Southeast Quarter of the Southeast Quarter (SE/4
               SE/4); thence East 256 feet; thence North 256 feet; thence West
               256 feet; thence South 256 feet to the point of beginning, all in
               Section Four (4), Township Nine (9) North, Range Three (3)
               East of the Indian Meridian, Pottawatomie County, Oklahoma;

               LESS AND EXCEPT a tract of land described as beginning
               2292.84 feet West of the Southeast Corner of said Section Four
               (4), Township Nine (9) North, Range Three (3) East; thence
               N00º06ʹ03ʺ E a distance of 565.73 feet; thence S89º50ʹ47ʺ W
               a distance of 670.4 feet; thence S00º06ʹ1ʺ W a distance of
               566.73 feet; thence East a distance of 670.41 feet to the point
               of beginning; and

               LESS AND EXCEPT a tract of land in Section Four (4),
               Township Nine (9) North, Range Three (3) East of the Indian
               Meridian, Pottawatomie County, Oklahoma, described as
               beginning at a point 2292.84 feet West and 565.73 feet N00º
               06ʹ03ʺ E of the Southeast corner of said Section 4; thence N00º
               06ʹ03ʺ E a distance of 156.6 feet; thence S89º50ʹ47ʺ W a
               distance of 826.91 feet; thence S00º06ʹ11ʺ W a distance of
               722.81 feet; thence East a distance of 156.5 feet; thence N00º
               06ʹ1ʺ E a distance of 566.73 feet; thence N89º50ʹ47ʺ E a
               distance of 670.41 feet to the point of beginning.


       5.      Defendant Kami Faye Lacy, a/k/a Kami Faye Odum, may as a result of her

marriage to and subsequent divorce from Tony Douglas Lacy claim some right, title or

interest in the mortgaged premises, but such interests are inferior and subordinate to the

prior mortgage lien of plaintiff.




                                              2
            Case 5:18-cv-00262-SLP Document 1 Filed 03/23/18 Page 3 of 3



       6.      Defendant Pottawatomie County, as a result of personal property taxes, may

claim some right, title or interest in the mortgaged premises, but such interests are inferior

to the mortgage lien of plaintiff.

       WHEREFORE, plaintiff prays for judgment against Defendant Tony Douglas Lacy

in the sum of $ 310,617.18 as of January 31, 2018, together with accruing interest at the

rate of $28.46 per diem from January 31, 2018, to the date of judgment; and for foreclosure

of its mortgage lien, determination of its first lien priority against all defendants and sale

of the mortgaged premises pursuant to judgment. Plaintiff elects to sell this property

without appraisal.


                                                  MARK A. YANCEY
                                                  UNITED STATES ATTORNEY

                                                  s/KAY SEWELL
                                                  Assistant U.S. Attorney
                                                  OBA 10778
                                                  210 Park Avenue, Suite 400
                                                  Oklahoma City, OK 73102
                                                  Telephone: (405) 553-8807
                                                  Fax: (405) 553-8885
                                                  Email: kay.sewell@usdoj.gov




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                           Case 5:18-cv-00262-SLP Document 1-1 Filed 03/23/18 Page 1 of 3


                                                                                                                            Fom Approved - OMB No 0fi04237
    fhis form is available eleclronica y                                                    (See Page 3 for Pivacy Act and PapeNyork Reduction Act Statemonts.)
    FSA-2026                                                       U.S. DEPARTMENT OF AGRICULTURE                                                        Posilion 2
    \12-O5-12)                                                             Farm SeNice Agency


                                                                       PROMISSORY NOTE
    1.   Name                                                                  2.   State                                3.    County
                        Tony Douglas Lacy                                                          Oklahoma                              Pottawatomie
    4    Case Number                        5.   Fund Code                     6.   Loan Number                          7.    Date
         42-63-               584                             44                                              01                          02t20t2015
    8    TYPE OF ASSISTANCE                                                    S, ACTION REOUIRING PROI\4ISSORY NOTE
                 DireclAnnual Operating Loan-                                  []   rniti"r to"n          !                   easement
                                                                                                               Conservation              f,   Defeneo payments
                   Regular-'1 year-SDA (1 04)
                                                                                    Consolidation        n     Rescheduting                   Debl write down

                                                                                    Subsequent     loan E      Reamonizalion

 10. FoR VALUE RECEIVED, the undersigned borrower and any cosigners jointly and severally promise to pay to the
                                                                                                                    order ofthe
 United States of America, acting through the Farm Service Agency, United States Department ofAgriculture (,,Government,,),
                                                                                                                            or its
    assigns, at its ol]ice   in   fd       Ada, Oklahoma                                             or at such other place as the Government may later
 designate in writing, the principal sum             of(D)
                                                 Six Thousand Five Hundred and OO/1OO__-____
                                                            ($ 6,500.00
                                                              dollars (c)                                            , plus interest on
 rh e unpaid principal balance ar the RATE of (d) two and flve
                                                                   eighths
 percent (e) 2.625             %o) per annum. Ifthis note is for a Limited Resource loan (indicated in ltem
                                                                                                            8) the Government may
 CHANGE THE RATE OF INTEREST in accordance with its regulations, by giving the borrower thirty (30) days prior written
 notice by mail to the borrower's last known address. The new intercst rate shall not exceed the highest rate
                                                                                                              established in the
 Covernment's regulations for the type of Ioan indicated in Item g.

 ll.     Principal and interesrshallbe paid in          fd     One(1)
 installments as indicaled below. except as modified by a differen t rate of inlerest on or belore
                                                                                                   the lollowing dates
     (b) lnstallmen! amount                 (c) Due Date                   (b) Installment amounr                   (c)                  Due Dare
$                6,671.00                                02120t2016                  $
$                                                                                    $
$                                                                                    $
5                                                                                    $


and (d) $                          thereafler on the fe,               NA               of each $           Year           until the
principal and interest are fully paid except th at the final installment ofthe entire indebtedness evidenced
                                                                                                             hereby, ifnot sooner
paid, shall be due and payat)le (A)                One (1 )            years from the date ofthis note, and except that prepaymcnts                    may
be made as provided          below. The consideration for this note shall also suppon any agreement moditing the foregoing schedule
ofpayments.
 12. lfthe total amount of lhe loan is not advanced at the time of loan closing, the loan funds shall be
                                                                                                         advanced to the borrow€r as
requested bythe borrower and approved by the Government. Approval by the Government will begiven, provided the
                                                                                                                           advance is
requested for a purposc authorized by the Government, Interest shall accrue on the amount of€ach advanie from the actual
                                                                                                                                date
disbursed.




lspaitsh FedetaL,elav USDA is an equat appodunt! ptovid6. aN anpbyor



mrtiaf,if_.                  Dat           4t-lt'
                                                                                                         Exhibit 1 - Promissory Note01 02-20-2015
                           Case 5:18-cv-00262-SLP Document 1-1 Filed 03/23/18 Page 2 of 3

   FSA-2026      (12-05-12)                                                                                                         page 2 of3

  I3  Any amount advanced or expended by the covemment for the collection ofthis note or to preserve protect
                                                                                                           or         any security for the
  Ioan or otherwise expended under the terms ofany security agreement or other instrurant
                                                                                                      in              with the loan
                                                                                           "*"art"d
  evidenced by this note, at the option of the Government shall become a pan ofand bear interest         "onri""tion
                                                                                                 at the same   rats as the principal ofthe
  debt evidenced by this nole and be immediately due and payable by the'Borrower to the
                                                                                        covernment without demand.
   l4     Every payment made on any indebtedness evidenced by this note shall be applied according to priorities
                                                                                                                 set in 7 cFR part 765, or
  any successor regulation.

  15. Prepayment ofscheduled installments, or any portion ofthese installments, may be made at any
                                                                                                       time at the option ofthe
  Borrower. Refunds and extra payments shall, after payment ofinterest, be applied to the last instaliments
                                                                                                             to become due under this
  note and shall not affect the obligation ofthe Borrower to pay the remaining installments
                                                                                            as scheduled in this note.

  I6.  Property constructed, improved, purchased, or refinanced in whole or in parr with the loan
                                                                                                    evidenced by this note shall not be
  leased' assigned, sold, transferred, or encumbered, voluntarily or otherwise, without the written
                                                                                                     consent ofthe Covernment, Uniess
  the oovernment consents otherwise in writing, the Borrower wirt operate such property
                                                                                            as a farm.

 I7. lf"Debt write Down," "Consolidation," "Rescheduling,,, or ,,Reamortization,' is indicated in ltem 9, this note given
                                                                                                                       is       lo
 consolidate, reschedule or rearnonize, but not in satisfaction of, the unpaid principal and interesr
                                                                                                      on the ioiio*inj a"r"riu"a not"s o,
 assumption agreements under new terms;

       (a)                                                            (d)                                                             (f)
                               (b)                (c)                                                (e)
   FUND CODF]                                                       DATE                                                        LAST INSTALL
                           FACE AMOUNT      INTEREST RATE                                   ORI6INAL BOR.ROWER
    LOAN NO                                                      (MM-DD-yYyY)                                                        DUE
                                                                                                                              lMM.DDYYW)
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 l8  security instruments taken in connection with.the loans evidenced by these described notes
                                                                                                   and other related obligations are not
affected by this consolidation, write down, rescheduling, or reamortization. These security
                                                                                              instruments shall continue to remain in
effect and the security given for the loans evidenced by the described notes shall continue
by this note, and for any other related obligations.
                                                                                            to remai"ur      ,""*ifio.,r," Ioan evidenced

 I9 lfatanytimeitshall appear to the Government that the Borower may be abletoobtain financing from a responsible cooperative
or private credit source at reasonable rates and terms for loans for similar purposes and period
                                                                                                 of time, the Borrower will, at the
Government's request, apply for and accept a loan in sufTicient amount to pay this note in full
                                                                                                 and, if t'fre tenaer is a cooperative, to pay
for any necessary stock. The provisions of this paragraph do not apply if the loan represented
                                                                                                 by ;his ;;ir*f               was made to the
Borrower as a nonprogram Ioan or a Conservation Loan.                                                                    ""t"




lnitial    t't                Datc.z{j--/f
                        Case 5:18-cv-00262-SLP Document 1-1 Filed 03/23/18 Page 3 of 3

 FSA-2026       (12-05-12)                                                                                                                               page 3 of 3

 20-. The Borrower recognizes that the loan described in this note will be in default should
                                                                                             any loan proceeds be used tbr a purpose rhat
 will contribute to excessive erosion of highly erodible land or to the converuion or*etlands io p.odic"
                                                                                                            ugrl"uttrrut         -   us
 provided in 7 CFR Part 1940, subpart G, Exhibit M, or any successor regulation.                                         "onlnroaity

 2L         e to pay when due any debt evidenced by this note or perform any covenant ofagreement
   -Failur under this and any other instrument                                                         under this note shall constitute
 DEFAULT                                       evidencing     a debt ofthe Bo,ro*", owing to the Government or securing or otherwise
 relating to such debt; and defbult under any such other instrument shall constitute defauliunder
                                                                                                  this note. Upon suct aerault, the
 Government at its option may decrare aI or any part ofany such indebtedness immediatery due
                                                                                                  and payabre.'

 22 'fhis note is given as evidence
                                    ofa loan to the Borrower made by the Government pursuant to the consolidated Farm and Rural
 Development Act and for the tyPe of loan as indicated inltem 8. Thisnoteshall be subject to the present
                                                                                                         regulations ofthe
 Government and to its future regulations not inconsistent with the express provisions ofthis note.

 23. Presentment, protest,    and notice are waived.

 Sigrature(s) As Described In Statc Supplement:




 Tony Douglas L                                                                                                 o.teZ:-ZO:!E_
                  OK




NOTE                wlng slatehenl s                            ce                      cl   9 74 ( 5 s c. 552a as amondod) The                            esa/n9
          lhe                                           s     Consolidatecl          and       Devalaphenl         as           ( 7 U s. c 1 92 1 el c.e.s  Th
                  atian     be sed la                 eligibtlity and fea sibility    loans and       guarantees,      seNicing              d       guarantees
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                                           al        been a             ,ccass                       by stalute   regulation and/or as descnbed t a applicable
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                                         RETURN THI s       COMPLETE D FORM TO YOUR couNfy FSA OFFIC E
                           Case 5:18-cv-00262-SLP Document 1-2 Filed 03/23/18 Page 1 of 3


                                                                                                                                        Fom Apptoved - OMB Na. 0560-0237
    fhjs fo.m is avajlable eleckonically                                                              (See Page 3 for Pnvacy Act and            Red u ction Act State ments.)
     FSA-2026                                                           U.S. DEPARTMENT OF AGRICULTURE
                                                                                                                                                                   Position 2
     112-Os-12)                                                                 Farm Service Agency


                                                                            PROMISSORY NOTE
     l    Name                                                                           2.   State                              3.    County
                        Tony Douglas Lacy                                                                  Okla homa                             Pottawatomie
     4.   Case Number                       5.    Fund Code                              6.   Loan Number                        7.    Date
          42-63               584                                  44                                               02                            02t20t2015
     8,   TYPE OF ASSISTANCE                                                             9, ACTION REQUIRING PROMISSORY           NOTE
                     Direc!Operating Loan-                                                    lntialloan
                    Regular-7 year-SDA (1 06)
                                                                                                                       Conservation easement      E   Defened payments

                                                                                              Consolidation            Rescheduling               !   D"br   *,it" do*n

                                                                                         Ej   Subsequent loan          Reamortization

  l0 FoR VALUE RECEIVED, the undersigned borrower and any cosigners jointly and severally promise to pay to the order ofthe
  United states of America, acting through the Farm service Agency, United states Department ofAgriculture
                                                                                                           (,,covernment,,), or its
     assigns, at its office   in   (a)     Ada, Oklahoma                                                      or at such other place as the Covernment may later
 designate in writing, the principal sum of(D)                      Forty Thousand and             00/100-----
                                                                    dollars (c)   ($   40,OOO.0O                                                 , plus interest on
 the unpaid       principal balance at the RATE              of (d) two and five eighths
 petcent(e)         2.625      7o)perannum. IfthisnoreisforaLimited Resource loan (indicated in Item 8) the Government
                                                                                                                                may
 CHANCE THE RA'TE oF INTEREST in accordance with its regurations, by giving rhe borrower thiny (30)
                                                                                                                   days prior wrirten
 nolice b), nrail to the borrowe/s last known address. The new interest rate shall not exceed the highest
                                                                                                          rate established in                             the
 Covernment's regulal ions for the type of loan indicated in Item 8.

 I   I.   Principal and interest shall be paid in           (a)      Seven (7)
 installments as indicated below, except as modified by a d ilie rent rate ofinterest on or before
                                                                                                   the following dates
     (b) lnstallment amount                 (c) Due Date                    (b) Installment amount                  (c) Due Date
 S                6,330.00                                   ozt20t2016                        $
S
                                                                                               $
$                                                                                              $
S
                                                                                               $


and      $(d)     6,330.00 thereafter on rhe fe,               20th of February of each A                 Year            unril the
principal and interest are fully paid except that the final installment ofthe entire indebtedness
                                                                                                                         Iid-Id h
                                                                                                                6!, itiot ,oon",
paid, shall be due and payable (p                seven (7)            years from the dare ofthis note, and except that prepaymenrs may
be madeas provided b"lo*. Th"                              noiJJull ulso suppon any agreement modiryingrhe foregoing schedule
of payments.                                "orlid"rutiinEiG[
 l2 lfthe total amount ofthe loan is not advanced at the time ofloan closing, the loan funds shall be advanced to rhe borrower
                                                                                                                               as
requested by the borrower and approved by the Government. Approval by ihe Covernment will
                                                                                                 le given, provided he advance is
requested for a purpose authorized by rhe covernment. Interest shall accrue on the amount ofeach
                                                                                                     idvance from the actual date
disbursed.




lspanish Foderahelay)- usDA a ah eg@] ap@luntty   pavijat   and   ehployv


tnitiatfL                     oate{--Pv.f

                                                                                                                    Exhibit 2 - Promissory Note02 02-20-2015
                        Case 5:18-cv-00262-SLP Document 1-2 Filed 03/23/18 Page 2 of 3


     FSA-2026   (i2-05-12)                                                                                                       page 2 of3

 13. Any amount advanced or expended by the Govemment for the collection ofthis note or to preserve or protect any security
                                                                                                                                  for the
 Ioan or otherwise expended under the terms ofany security agreement or other instrument executed in connection
                                                                                                                   with the loan
 evidenced by this note, at the option ofthe Government shall become a part ofand bear interest at the same rate as the principal
                                                                                                                                   ofthe
 debt evidenced by this note and be immediately due and payable by the Borrower to the Gov€rnment without
                                                                                                              demand.
 14. Every payment made on any indebtedness evidenced by this note shall be applied according to priorities set in 7 CFR part
                                                                                                                              765, or
 any successor regulation.

 15. Prepaymenr ofschedulcd installments, or any ponion ofthese installments, may be made at any time at the option ofthe
 Borrower' Refunds and extra payments shall, after payment ofinterest,   be applied to the last instaliments to become due under this
 note and shall not affect the obligation ofthe Borrower to pay the remaining installments as scheduled in this not€.

 i   6. Property
             constructed, improved, purchased, or refinanced in whole or in pan with the loan evidenced by this note shall not
                                                                                                                               be
 leased, assigned, sold, transferred, or encumbered,
                                                   voluntarily or otherwise, without the written consent ofthe Government. Unless
 the Government consents otherwise in writing, the Bonower will operate such propeny as a farm.

 lT lf"Debt Write Down," "Consoiidation," "Rescheduling," or "Reamortization" is indicated in ltem 9, rhis note is given ro
 consolidate, reschedule or reamortize, but not in satisfaction of, the unpaid principal and interest on the following described
                                                                                                                                 notes   or
 assumption agreements under new terms:

          (a)                                                       (d)                                                            (0
                            (b)                   (c)                                               (e)
     FL'ND CODS                                                    DATE                                                      LAST INSTALL.
                        FACE AMOUNT         INTEREST RATE                                 ORICINAL BORROWER
      LOAN NO                                                  (MM-DD-yfm)                                                        DUE
                                                                                                                             (MM-DDfyW
                    S



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18. Security instruments taken in connection with the loans evidenced by these described notes and other related
                                                                                                                     obligations are not
affected by this consolidation, write down, rescheduling, or reamortization. These security instruments shall continue
                                                                                                                           to remain in
cflltct and the security given lbr the Ioans evidenced by the described notes shall continue to remain as security for the
                                                                                                                            loan evidenced
by fhis notc, and for any other related obligations.

I9   lfat any time it shall appear to the covernment that the Borrower may be able to obtain financing from a responsible cooperative
or private credit source at reasonable rates and terms for loans for similar purposes and period oftime, the
                                                                                                              Borrower will, at the
Government's request, apply fbr and accep^t aloan in sufficient amount to pay this note in full and, irtire lenae,
                                                                                                                   is a cooperative, to pay
for any necessary stock. The provisions ofthis paragraph do not apply if th; Ioan represented oy ihis p.omissory
                                                                                                                      note was made to the
Borrower as a nonprogram Ioan or a Conservation Loan.




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                         Case 5:18-cv-00262-SLP Document 1-2 Filed 03/23/18 Page 3 of 3

FSA-2026         (12-05-12)                                                                                                                        page 3 of   3

20. The Borrower recognizes that the loan described in this note will be in default should any loan proceeds be used for a purpose
                                                                                                                                   that
will contribute to excessive erosion ofhighly erodible land or to the conversion ofwetlands io produce an agri"utiu.at
                                                                                                                                   us
provided in 7 CFR Part 1940, subpan C, Exhibit M, or any successor regulation                                          "om.oalry

2L Failureto pay when due any debt evidenced bythisnote or perform any covenant ofagreement under
                                                                                                  this note shall constitute
DEFAULT under this and any other instrument evidencing a debt ofthe Borrower owing to the Government or securing
                                                                                                                                                 or otherwise
relating to such debt; and default under any such other instrument shall constitute defauli under this
                                                                                                       note. Upon such default, the
covernment at its option may declare alr or any parr ofany such indebtedness immediately due and payabre.

22' 'l'his
        note is given as evidence ofa loan to the Borrower made by the Government pursuantto the Consolidated
                                                                                                                 Farm and Ru.al
Development Act and lbr the typc of loan as indicated in Item 8. Thisnoteshall besubjecttothe present
                                                                                                      regulations ofthe
Government and to its future regulations not inconsistent with the express provisions ofthis note.

23. Presentment, protest, and notice are waived.

Signsture(s) As Described In Saate Supplement:




Tony Douglas Lac                                                                                           Date'*2O- ( {-
Tecumseh, OK 74873




             Th e             slatemenl /s         a a.cordance          t            Acl       I7
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                     wlng                searching isling dala sourc6s, galhering and                  dat a needed,
                                                                                                  s                          completing and reviewing
             collect                     RETURN THI s COMPLEfE D FORM TO YOUR COUNTY FSA OFFICE
                          Case 5:18-cv-00262-SLP Document 1-3 Filed 03/23/18 Page 1 of 3

                                                                                                                                     Fom Approved - OMB No. 05660237
lhis form is available electronically                                                             (See Page 3 for Pdvacy Act   aN   Paperwod< Reduction Act Stalenents.)

 FSA-2026                                                             U.S. DEPARTMENT OF AGRICULTURE                                                           Position 2
 (.12-05-12)                                                                  Farm Service Agency


                                                                           PROMISSORY NOTE
 1    Name                                                                             2. State                                 3. Counly
                       Tony Douglas Lacy                                                               Oklahoma                                Pottawatomie
4     Case Number                           5   Fund Code                              6   Loan Number                         7.   Date

      42-6                   584                                 41                                                03                            02t20/2015
8, TYPE      OF ASSISTANCE                                                             9, ACTION REQUIRING PROMISSORY           NOTE:

                    Direct.Farm Ownership-                                             fi tniti"tto"n          I    conservation easemenl           Deferred payments
                   Regular-SDA-Ethnic (03 1 )
                                                                                           Consolidation       E    Rescheduling                    Debt write down


                                                                                       E   subsequent loan          Reamortizalion


10. FOR VALUE RECEMD, the undersigned borrower and any cosigners jointly and severally promise to pay to ttre order of the
United States of America, acting through the Farm Service Agency, United States Department of Agriculture ("Govemment"), or its
 assigns, at its office in (a) Ada, Oklahoma                                   or at such other place as the Govemment may later
designate in   wriring, the principal sumof (b) Two Hundred Forty Thousand and 00/100-------
                                                                   dollars /c)   ($   240,000.00                                                , plus interest on
the unpaid principal balance at the RATE                     of (d) lhrce
                                             and three fourths
percent (e)       %) per annum. Ifthis note is fora Limited Resource loan (indioated in ttem 8) the Government may
            315
CHANGE THE RATE OF INTEREST in accordance with its regulations, by giving the borrower thifiy (30) days prior written
notice by mail to the borrower's last known address. The new interest rate shall not exceed the highest rate established in the
Government's regulations for the type ofloan indicated in Item 8.

ll.    Principal and interest shall be paidin                (a)    Thirty (30)
installments as indicated below, except as modified by a different rate ofinterest on or before the following dat€s:
      (b) Installmenl amount                                 (c) Du€ Date                         (b) Installment amount                     (c) Due Date

$              13,462.00                                     02t2012016                      $

$                                                                                            $

$                                                                                            s

S                                                                                            S




and (d)    $     13,462.00 thereaffer onthe                           (e)
                                                               20th of February of each (fl                Year            until the
principal and interest are fully paid except that the Iinal installment ofthe entire indebtedness evidenced hereby, ifnot sooner
paid, shall be due and payable (g)              Thirty (30)            years from the date ofthis note, and except that prepayments may
be made as provided          below. The consideration for this note shall also support any agreement modifing the foregoing schedule
of payments.
12. lfthe total amount ofthe loan is not advanced at the time ofloan closing, the loan firnds shall be advanced to the borrower as
requested by the borrower and approved by the Govemment. Approval by the Govemment will be given, provided the advance is
requested for a purpose authorized by the Government. lnterest shall accrue on the amount of each advance from the actual date
disbursed.




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                                                                                                             Exhibit 3 - Promissory Note03 02-20-2015
                    Case 5:18-cv-00262-SLP Document 1-3 Filed 03/23/18 Page 2 of 3

 FSA-2026     (12-05-12)                                                                                                        Page 2 of 3

 J3  Any amount advanced or expended by the Govemment for the collection ofthis note or to preserve or protect any security for the
 Ioan or otherwise expended under the terms ofany security agreement or other instrument executed in connection with the loan
 evidenced by this note, at the option ofthe Govemment shall become a part ofand bear interest at the same rate as the principal ofthe
 debt evidenced by this note and be immediately due and payable by the Borrower to the Govemment without demand.

 14. Every payment made on any indebtedness evidenced bythis note shall be applied according to priorities set in 7 CFRpart765, or
 any successor regulation.

 15. Prepayment ofscheduled installments, or any portion ofthese installments, may be made at any time at the option ofthe
 Borrower. Refunds and extra payments shall, after payment ofinterest, be applied to the last installments to become due under this
 note and shall not affect the obligation ofthe Borrower to pay the remaining installments as scheduled in this note.

  16. Propefiy constructed, improved, purchased, or refinanced in whole or in part with the loan evidenced by this note shall not be
 ieased, assigned, sold, transfered, or encumbered, voluntarily or otherwise, without the written consent ofthe Govemment, Unless
 the Government consenls otherwise in *'riting, the Borrower will operate such property as a farm.

 I7. If"Debt Write Down," "Consolidation," "Rescheduling," or "Reamortization" is indicated in ltem 9, this note is given to
 consolidate, reschedule o. reamortize, but not in satisfaction of, the unpaid principal and interest on the following described notes or
 assumption agreements under new terms:

       G)                                                           (d)                                                           (0
                            (b)                  G)                                                 (e)                     LAST INSTALL
  FUND CODS                                                       DATE
                        FACE AMOUNT       INTEREST RATE                                   ORIGINAL BORROWER                      DUE
   LOAN NO                                                     (MM-DD-vvvY)
                                                                                                                            (MM-DD-yYyy)

                    $


                    $

                    $

                   $

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                   s

                   $



18. Security instruments tak€n in connection with the loans evidenced by these described notes and other related obligations are not
affected by this consolidation, write down, rescheduling, or reamortization. These security instruments shall contjnue to remain in
effect and the security given for the loans evidgnced by the described notes shall continug to remain as security for the loan evidenceC
by this note, and for any other related obiigations.

 19. lf at any time it shall appear to the Govemment that the Borower may be able to obtain financing from a responsible cooperative
or private credit source at reasonable rates and terms for Ioans for similar purposes and period of time, the Borrower will, at the
Government's request, apply for and accept a loan in sufficient amount to pay this note in full and, ifthe lender is a cooperative, to pay
for any necessary stock. The provisions ofthis paragraph do not apply ifthe loan represented by this promissory note was made to the
Borrower as a nonprogram loan or a Conservation Loan.




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                     Case 5:18-cv-00262-SLP Document 1-3 Filed 03/23/18 Page 3 of 3

 FSA-2026 <i2-o*12)                                                                                                                       Page 3 ol 3

 20' The Bonower recognizes that the loan described in this note will be in defauh should any loan proceeds be used for a pur?ose that
 will contribute to excessive erosion ofhighly erodible land or to the conversion ofwetlands to produce an agricultural commodity as
 provided in 7 CFR Part 1940, subpan c, Exhibit M, or any successor regulation.

 21. Failure to pay when due any debt evidenced bythis note or perform any covenant ofagreement under this note shall constitute
 DEFAULT under this and any other instrument evidencing a debt ofthe Borrower owing to the Government or securing or otherwise
 relating to such debU and default under any such other instrument shall constitute default under this note. Upon such dJfault, the
 Government at its option may declare all or any part ofany such indebtedness immediately due and payable.

 22. This note is given
                      as evidence ofa loan to the Borrower made by the Government pursunt to the Consolidated Farm and Rural
Development Act and for the type ofloan as indicated in ltem 8. This note shall be subject to the present regulations ofthe
Government and to its future regulations not inconsistent with the express provisions ofthis note.

23. Presentment, protest, and notice are waived

Signature(s) As Described In State Supplement:




 Tony Douglas L                                                                                     Date.=]_Z!_rj_
 Tecumseh, OK 74873




NOTE:      The   fo owing statemenl   /s made  accorda                     A cl   1 97  (5 U s C 552a as          ded) The a uthotity     rcquestin g
            e                                       the Consolidated                  De            Acl, as           ( 7 U s C 1 92 1   s99 )
                          be used lo             eligibilily and asibility loans and       guaranlee s, ahd seNicing      loans         guarantee s
           The             collecled         lom ma v be sc/osed lo         Fedeftl, Slate and local govemhent agencies, Tribal agencies, ahd
           nongovefimenlal entilies thal have been authotized access to the infomatbn by statute ot regulation and/ot as descibed in the applicabte
           Routine Uses identified in the System of Recods Notice tot USDAJFSA-I4, ApplicanuBotawet. Providing the rcquested infoination is
           voluntary. Howevea failure to fuhish the rcquesled infomation fiiay F-sult ih a denial fot loans and loan guarantees, and seNicing of loans
           and loan guaranlees. The prcvislons of ciminal and civtl fraud, pivacy, and other statutes may be appticable to the infofination ptovided.

            Accoding lo the Papetuvoft Reduction Act ol 1995, an agency may not conduct ot sponsot, and a person is not rcquircd to rcspond to, a
           collection of infonnation unless it displays a valid OMB conbol number- The valid OMB conttut number for this infomation coltection is
           056G0237. The tine Equied to @mplete this inlormation collection is estimated to averagc 20 minutes pet response, inctuding the time
           fot ftviewing insltuctions, searahitg existing data sources, gatheing and fiaihtaining lhe data needed, and conpleting ahd reviewing the
           coltection of infoination. RErURN THIS COMPLETEO FORLI TO YOUR COUNTY FSA OFF|CE.
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          Case 5:18-cv-00262-SLP Document 1-4 Filed 03/23/18 Page 1 of 7
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                                                                                  Form Approved - OMB No. 0560-0237
                                                    (See Page 6 for Privacy Act and Paperwork Reduction Act Statements)
FSA-2029 OK                             U-.   S. DEPARTMENT OF       AGRICULTURE                                         Position     5
(08-13-14)                                           Farm Service Agency

                                              MORTGAGE FOR OKLAHOMA                                 Instrument PG                         1   0F         7
                                                                                                   ?rl15D0rl0?561
     THIS MORTGAGE ("instrunent") is made on February 20th                                                          ,20 1s      .   The
mortgag oris Tony Douglas Lacyand Kami Faye Lacy, husband and wife
("Bonower") whose mailing address is                                         Tecumseh, OK74873

This inshument is given to the United States of America tt[ough the Farm Service Agency, United States
Department of Agriculture ("Gowemrnent") located at 1328 Cradduck Road, Ada, OK 74820                                                                ,
This instrument secures the folloving promissory notes, assumption agreements, and/or shared appreciation                                       t oa
                                                                                                                                                o)
agreements (collectively called "note"), which have been executed or assumed by the Borrower unless otherwise                                   o
noted, are payable to the Govemrnent, and authorize acceleration ofthe entire debt upon any default:                                            E

                                                                  Annual Rate                   Due Date of                                    5
    Date of Instrument             Principal Amoutt                 of Interest              Final lnstallment
                                                                                                                                               E}
       02120/2015                       s 240,000.00                         3.75 "                             02t20t2045                     &
       02t20/2015                        s 40,000.00                       2.625.4                              02/20/2022                     se
       02t20/2015                        $ 6,500.00                        2.625   '/,                          02/20/2016
                                                                                                                                               ft
(The interest rate for any limited rqource farm ownership or limited rcsource opemting loans secwed by this                                   E!i
instrument may be increased as provided in Govemment regulations and the note.)

By execution ofthis insiument, Borrower acknowledges receipt ofall ofthe proceeds ofthe loan or loans
evidenced by the above note.
                                                                                                                                              E$s
This instrument secures to the Goyernment: (l) payment ofthe note and all extensions, renewals, and modifications
thereof; (2) recapture ofany amount due under any Shared Appreciation Agreement entered into pursuant to                                      EH
7U.S.C. $ 2001; (3) payment of alladvances and expenditures, with interest, made bythe Government; and (4)the



                                                                                                                                              {l
obligations and covenants of Borrower set forth in this instrument, the note, and any other loan agreements.

In consideration ofany loan madeby the Govemment under the Consolidated Farm and Rural Development Act,
? IJ. S. C. $ 192 I et ;9q. as evidenced by the note, Borrower irrevocably mortgages, grants and conveys to
Government the following described property situated in the State of Oklahoma, County or Counties
Pottawatomie and Hughes
                                         See attached Exhibit A for legal description
                                                                                                                                              It
                                                                                                                                              g-J
together with all rights (including the rights to mining products, gravel, oil, gas, coal or other minerals), interests,
easements, fixtures, hereditaments, appurtenances, and improvements now or later attached thereto, the rents, issues                          EI
and profits thereof, revenues and income therefrom, all water, water rights, and water stock pertaining thereto, and                          EE
all payments at any time owing to Borrower by virtue of any sale, lease, transfer, or condemnation of any part
       for interest therein (collectirely called "the property"). This instrument constitutes a security agreement and
                                                                                                                                              iE
            tatement under the Uniforrn Commercial Code and creates a security interest in all items which may be
            be personal property, incl[ding but not limited to proceeds and acc€ssions that are now or hereafter
             , affixed, or aftached   to'lhe   property."
                                                                                RER'S ENDORSEMENY. I                           lhat t .E6lvsd
                                                                                  and issued Rec eipt No:
                                                                             rin           mortgag€ tax on
                                                                     Dated
                                                                     Pot              County Treasurer
                                                                     By
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                                                                                          sn-zrrzv rrn r r;irl'ir-r1/ra6vrv^
       ,/t
       F-l-                  /-'20'-lt                                                            Exhibit 4 - Mortgage 02-20-2015
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Bonower COVENANTS that Borrower is lawfully seised ofthe estate hereby conveyed and has the right to
moftgage, gant and convey the property and that the property is unencumbered, except for encumbrances ofrecord
Borlower warrants and will defend the title to the property against all claims and demands, subject to any
encumbrances of record.

This insfument combines uniform covenants for national use and non-uniform covenants with Iimited variations by
jurisdiction to constitute a uniform mortgage coYering real property

TINIFORM COVENANTS. Borrower COVENANTS AND AGREES as follows:

     1.   Payment. Borrower shall pay promptly when due any indebtedness to the Govemment secured by this
instIument.
    2. Fees. Borrower shall pay to the Government such fees and other charges that may now or later be required
by Goverrunent regulations.
    3. Application of payments. Unless applicable law or Govemment's regulations provide otherwise all
payments received by the Govemment shall be applied in the following order ofpdority: (a) to advances made
under this instrument; (b) to accrued interest due under the note; (c) to principal due under the note; (d) to late
charges and other fees and charges.
     4.   Taxes, liens, etc. Borrower shall pay when due all taxes, liens, judgments, encumbrances, and assessments
lawfully aftaching to or  assessed against the property and promptly deliver to the Govemment without demand
receipts evidencing such payments.
     5. Assignment. Borrower grants and assigns as additional security all the right, title and interest in: (a) the
proceeds ofany award or claim for damages, direct or consequential, in connection with any condemnation or taking
by eminent domain or otherwise ofany part ofthe property, or for conveyance in lieu ofcondemnation; (b) all
bonuses, rentals, royalties, damages, delay rentals and income that may be due or become due and payable to the
Borrower or Borrower's assigns under any existing or future oil, gas, mining or mineral lease covering any portion
ofthe property; and (c) all rents, issues, profits, income and receipts from the property and fiom all existing or
future leases, subleases, licenses, guaranties and any other agreements for the use and occupancy olany portion of
the property, including any extensions, renewals, modifications or substitutions ofsuch agreements. Borrower
warrants the validity and enforceability ofthis assignment.
     Borrower authorizes and directs payment ofsuch money to the Governrnent until the debt secured by this
instrument is paid in full. Such money may, at the option ofthe Govemment, be applied on the debt whether due or
not. The Govemment shall not be obligated to collect such money, but shall be responsible only for amounts
received by the Government. In the event any item so assigned is determined to be personal property, this
instrument    will also be regarded   as a security agreement.
     Borrower will promptly provide the Govemment with copies ofall existing and future leases. Borrower
warrants that as ofthe date ofexecuting this instrument no default exists under existing leases. Borrower agrees to
maintain, and to require the tenants to comply with, the leases and any applicable law, Bonower will obtain the
Govemment's written authorization before Bonower consents to sublet, modiS, cancel, or otherwise alter the leases,
or to assign, compromise, or encumber the leases or any future rents. Borrower will hold the Govemment harmless
and indemnif the Government for any and all liability, loss or damage that the Goyernment may incur as a
consequence of this assignment.
     6. Insurance. Borrower shall keep the property insured as required by and under insurance policies approved
by the Government and, at its request, deliver such policies to the Govemment. Ifproperty is located in a designated
flood hazard area, Bonower also shall keep property insured as required by 42 U S C. $ 4001 et !9q. and
Govemment regulations. AII insurance policies and renewals shall include a standard mortgagee clause.
     7. Advances by Goyernment. The Govemment may at any time pay any other amounts required by this
instrument to be paid by Borrower and not paid by Bonower when due, as well as any cost for the preservation,          E,   Fr
protection, or enforcement of this lien, as advances for the account ofBorrower. Advances shall include, but not be
limited to, advances for payrnents ofreal property taxes, special assessments, prior liens, hazard insurance           9!-
premiums, and costs of repair, maintenance, and improvements. All such advances shall bear interest at the same
rate as the note which has the highest interest rate. All such advances, with interest, shall be immediately due and
payable by Borrower to the Govemment without demand. No such advance by the Govemment shall relieve
Bonower from breach of Borrower's covenant to pay. Any payment made by Bonower may be applied on the note
or any secured debt to the Govemment, in any order the Govemment determines.
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      8. Protection oflien. Borrower shall pay or reimburse the Government for expenses reasonably necessary or
incidental to the protection ofthe lien and its priority and the enforcement or compliance with this instrument and
the note. Such expenses include, but are not limited to: costs ofevidence oftitle to, and survey ol the property,
costs of recording this and other instruments; attomeys' fees, tmstees' fees; court costs, and expenses of advertising,
selling, and conveying the property.
     9. Authorized purposes. Borrower shall use the loan evidenced by the note solely for purposes authorized
by the Govemment.
      10. Repair and operation ofproperty. Borrower shall: (a) maintain improvements in good repair; (b) make
repairs required by the Government; (c) comply with all farm conservation practices and farm management plans
required by the Govemment; and (d) opemte the property in a good and husbandlike man-ner. Borrower shall not
(e) abandon the property; (! cause or permit waste, lessening or impairment ofthe property; or (g) cut, remove, or
lease any timber, gravel, oil, gas, coal, or other minerals without the wdtten consent ofthe Government, except as
necessary for ordinary domestic purposes.
      I l. Legal compliance. Borrower shall comply with all laws, ordinances, and regulations affecting the
property.
      12. Transfer or encum b rance of property. Except as provided by Govemment regulations, the Bonower
shall not Iease, assign, sell, transfer, or encumber, yoluntarily or otherwise, any ofthe property without the written
consent ofthe Government. The Govemment may grant consents, partial releases, subordinations, and satisfactions
in accordance with Govemment regulations.
      13. Inspection. Atall reasonable times the Govemment may inspect the property to ascertain whether the
covenants and agreements contained in this instrument are being performed.
      14. Hazardous substances. Borrower shall not cause or permit the presence, use, disposal, storage, or release
of any hazardous substances on or in the property. The preceding sentence shall not apply to the presence, use, or
storage on the property of small quantities ofhazardous substaflces that are generally recognized to be appropriate to
normal use and maintenance ofthe property. Borrower covenants that Borower has made full disclosure ofany
such known, existing hazardous conditions affecting the properry. Borrower shall not do, nor allow anyone else to
do, anl,thing affecting the property that is in violation ofany federal, state, or local environmental law or regulation.
Borrower shall promptly give the Govemment wdtten notice ofany investigation, claim, demaad, lawsuit or other
action by any govemmental or regulatory agency or private party involving the property and any hazardous
substance or environmental law or regulation of which Borower has actual knowledge. If Borrower leams, or is
notified by any governmental or regulatory authority, that any removal or other remediation of any hazardous
substance affecting the property is necessary, Borrower shall promptly take all necessary remedial actions in
accordance with applicable environmental law and regulations. As used in this paragraph, "hazardous substances"
are those substances defined as toxic or hazardous substances by environmental law and the follo\,',ing substances:
gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents,
materials containing asbestos or formaldehyde, and radioactive materials. As used in this paragraph, "environmental
law" means Federal laws and regulations and laws and regulations of the jurisdiction where the property is located
that relate to health, safety or environmental protection.
      15. Adjustmenti release; waiver; forbearance. In accordance with Government regulations, the
Govemment may (a) adjust the interest rute, payment, terms or balance due on the loan, (b) increase the mortgage
by an amount equal to deferred interest on the cutstanding principal balance, (c) extend or defer the maturity of, and
renew and reschedule the payments on the note, (d) release any party who is liable under the note from liability to
the Government, (e) release portions ofthe property and subordinate its lien, and (f waive any other of its rights
under this instrument. Any and all of this can and will be done without affecting the lien orthe prioriry ofthis
insffument or Borrower's liability to the Govemment for payment ofthe note secured by this instrument unless the
Govemment provides otherwise in writing. HOWEVER, any forbearance by the Goyemment - whether once or
often - in exercising any right or remedy under this instrument, or otherwise afforded by applicable law, shall not be
a waiver ofor preclude the exercise of any such right or remedy.
      16. Graduation. Ifthe Govemment determines that Borrower may be able to obtain a loan fiom a responsible
cooperative or private credit source at reasonable rates and terms for loans for similar purposes and periods of time, gr il
Borrower will, upon the Govemment's request, apply for and accept such a loan in sufficient amount to pay the note
secured by this instrument and to pay for stock necessary to be purchased in a cooperative lending agency in
connection with such loan.

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              17. Forfeiture. Bonower shall be in default ifany forfeiture action or proceeding, whether civil or criminal, is
       begun that in the Govemment's good faith judgment could result in forfeiture ofthe property or otherwise materially
       impair the lien created by this instrument or the Govemment's security interest. Borrower may cure such default by
       causing the action or proceeding to be dismissed with a ruling that precludes forfeiture ofthe Borrower's interest in
       the property or other material impairment of the lien created by this security instrument or the Government's secu fy
       interest.
              18. False statement. Borrower also shall be in default ifBorrower, during the loan application process, gave
       materially false or inaccurate information or statements to the Govemment (or failed to provide the Government
       \ryith any material information) in connection with the loan evidenced by the note.
              19. Cross collateralization. Default under this instrument shal I constitute default under any other security
       instrument held by the Govemm€nt and executed or assumed by Bonower. Default under any other such security
       instrument shall constitute default under this instrument.
             20. Highly erodible land; wetlands. Any loan secured by this instrument will be in default if Borrower uses
       any loan proceeds for a purpose that will contribute to excessive erosion ofhighly erodible land or to the conversion
       ofwetlands to produce an agricultural commodity as provided in 7 C.F.R. part 1940, subpart G, or any successor
       GoYemment regulation.
             21. Non-discrimination. Ifany part ofthe loan forwhich this instrument is given shall be used to finance the
       purchase, construction or repair ofproperty to be used as an owner-occupied dwelling (herein called "the dwelling")
       and if Bonower intends to sell or rent the dwelling and has obtained the Covernment's consent to do so (a) neither
       Borrower nor anyone authorized to act for Bonower will, after receipt of a bona fide offer, refuse to neSotiate for
       the sale or rental ofthe dwelling or will otherwise make unavailable or deny the dwelling to anyone because ofrace,
       color, religion, sex, national origin, disability, familial status or age, and (b) Bonower recognizes as illegal and
       hereby disclaims, and will not comply with or attempt to enforce any restrictive covenants on the dwelling relating
       to race, color, religion, sex, national origin, disability, familial status or age.
             22. Notices. Notices given under this instrument shall be sent by certified mail unless otherwise required by
       Iaw. Such notices shall be addressed, unless and until some other address is designated in a notice, in the case ofthe
       Government to the State Executive Director ofthe Farm Service Agency at the mailing address shown above, and in
       the case ofBorower at the address shown in the Govemment's Finance Office records (which normally will be the
       same as the mailing address shown above).
            23. Governing law; severability, This insfument shall be govemed by Federal law. Ifany provision ofthis
       instrument or the note or its application to any person or circumstances is held invalid, such invalidity shall not
       affect other proyisions or applications ofthis instrument or the note which can be given effect without the invalid
       provision or application. The provisions ofthis instrument are severable. This instrument shall be subject to the
       present regulations ofthe Govemment, and to its future regulations not inconsistent with the express provisions
       hereol All powers and agencies gmnted in this instrument are coupled with an interest and are irrevocable by death
       or otherwise; and the rights and remedies provided in this instrument are cumulative to remedies provided by law.
             24. Successors and assigns; joint and seyeral covenants. The coyenants and agreements ofthis instrument
       shall bind and benefit the successors and assigns ofGovernment and Borrower. Borrower's covenants and
       agreements shall bejoint and several. Any Borrower who co-signs this instrument but does not execute the Note:
       (a) is co-signing this instrument only to mortgage, gmnt and convey that Borrower's interest in the property under
       this insrrument; (b) is not personally obligated to pay the sums secured by this instrument; and (c) aglees that the
       Govemment and any other Borrov,/er may agree to extend, modi$, forbear or make any accommodations with
       regard to the terms ofthis instrument or the note without that Borrower's consent.
            25. No merger. Ifthis instrument is on a leasehold, Borrower shall comply with all the provisions ofthe lease.
       lfBorrower acquires fee title to the property, the leasehold and the fee title shall not merge unless the Goyemment
       agrees to the merger in writing. Ifthe properfy is conveyed to the Government, title shall not merge (unless the
       Government elects otherwise) and the lien provided under this instrument shall not be affected by such conveyance.
            26. Time is ofthe essence. Time is ofthe essence in the Borrower's performance ofall duties and obligations
       under this instrument.




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  NON-tINIFORM COVENANTS. Borrower further COVENANTS AND AGREES as follows

        27. Default; Government's Rem€dies upon Default, Default occurs under this instrument ifBorrower
  breaches any covenant, obligation or agreement contained in this instrument or in the note secured by this
  inshument. Upon default, the Goyemment shall give notice ofthe default to Borrower prior to accelemtion if
  required by applicable law. Ifthe default is not cured, the Govemment, at its oPtion, may: (a) accelerate the
  maturity ofthe note and declare immediately due and payable the entire amount unpaid under the note and any other
  indebtedness which is secured by this instrument; (b) for the account ofBorrower, incur and pay reasonable
  expenses for the repair and maintenance of and take possession of, operate or rent the property; (c) upon application
  by it and production ofthis instrument, without other evidence and without notice ofhearing ofsaid application,
  have a receiver appointed for the property, with the usual powers ofreceivers in like cases; (d) foreclose this
  instrument and sell the property in accordance with the remedies provided in this instrument and under applicable
  federal or state law; and (e) enforce any and all other rights and remedies provided herein or by present or future
  law. Proceeding under this instrument, filing suit for foreclosure, or pursuing any other remedy will not constitute
  an election of remedies.
        28. Application of foreclosure proceeds. The      proceeds offoreclosure sale shall be applied in the following
  order to the payment of:   (a) costs and expenses incident to enforcing or complying with this instrument, (b) any
  prior liens required by  law or a competent court to be so paid, (c) the debt evidenced by the note and all other debt
  to the Government    secured  by this instrument, (d) inferior liens ofrecord required by law or a competent court to be
  so paid, (e) at the Govemment's option, any other debt ofBorrower to the Govemment and (l) any balance to
  Bonower. Ifthe Government is the successful bidder at foreclosue or other sale ofall or any part ofthe proPerty,
  the Govemment may pay its share ofthe purchase price by crediting such amount on any debts ofBonower owing
  to the Government, in the order prescribed above.
        29. Waiver. Borrower agrees that the Government will not be bound by any present or future State laws, (a)
  providing for valuation, appraisal, homestead or exemption ofthe property, (b) prohibiting maintenance ofany
  action for a deficiency judgment or limiting the amount thereofor the time within which such action must be
  brought, (c) prescribing any other statute of limitations, (d) allowing any right ofredemption or possession
  following any foreclosure sale, or (e) limiting the conditions which the Govemment may by regulation impose,
  including the interest it may charge, as a condition of approving a transfer ofthe property to a new Borrower.
  Borrower expressly waives the benefit ofany such State laws..
        30. Collection of Assigned Monies. Bonower agrees that the Govemment has the immediate right to collect
  and receive any and all monies covered under the assignment provided in paragraph 5 of this instrument. [n the
  event that Borrower receives such monies directly, Borrower will immediately deliver such monies to Govemment
  with any necessary endorsements.
        3 I . Entitlement to Abstracts, In the event that this mortgage is foreclosed or if the property is conveyed by
  Borrower to Govemment, Govemment shall be entitled to all abstracts and other evidences oftitle pertaining to the
  property. Upon demand by Govemment, Borrower agrees to immediately deliver such abstracts and other evidences
  of title to Govemment. The definition of"property" herein is amended to include such abstracts and other evidences
   oftitle.
         32. Replacement and Corrected Documents. If       any document material to this loan transaction is lost,
  misplaced, misstated or inaccurately reflects the true and correct terms anC conditions ofthis loan transaction. upon
  request by the Govemment, Bonower will comply with the Govemment's request to execute, acknowledge, initial
  and deliver to the Goyernment any and all documentation the Goyemment deems necessary to replace or correct the
  lost, misplaced, misstated or inaccurate document(s).
        33. Additional Documents. Borrower shall, upon request by the Government, execute, acknowledge and
  deliver to the Government any and all additional documents, instruments and further assurances as may be necessary
  or proper in the Govemment's opinion, to effect the intent ofthis loan transaction or to provide the Govemment with
  the secudty required or contemplated for this Ioan transaction.
  34. Subrogation. Ifany ofthe proceeds ofthe note or advances made under the note or this instrument are used to
  take up outstanding liens against all or any part ofthe property, the Government shall be subrogated to any and all
  rights, supe or titles, liens and equities owned or claimed by any owner or holder of any outstanding liens and
  debts, regardless ofwhether said liens or debts are acquired by the Government by assignment or are released by the
  holder thereof upon payment.




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                                                                                                            r-r4v,q:vv,4vr          uvva    rv'v   19 4'.
                                                              02/20' )E 1.13
                    Case 5:18-cv-00262-SLP Document 1-4 Filed 03/23/18   Pagepm 6Psof0237-0243
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             Instruaenf.                                                                                    Fee h5 oo Doc. $ 0 00
          ?ni5rr0nn?aa1              FO              )          7i                                          Joouita Walton - Huohes CoLrntv Clerk
                                                                                                               ' State of Oklahorna
        35. Riders to this Instrument. Ifone or more riders   are executed by Borrower and recorded together with this
        instument, the covenants and agreements ofeach rider shall be incorporated into and shall amend and supPlement
        the covenants and agreements ofthis instrument as if the riders were a part ofthis instrument. lcheck applicable
        boxesl
             !    Extension of Lien        Rider ERefinancing Rider      other fsp ec{v)    fl
        Bv sienine below. Borrower accepts and agrees to the terms and covenants c                                          ln   lsm strument           rn any
        riiter Execr"ured bv Borrower and r6corded iith this instrument.

                                                                           (SE                                                                           (SEAL)
                                                                                                       u


                                                                            (s               ami Fay           acy                                       (sEAL)

                                                                      ACKNOWLEDGMENTS
        STATE OF OKLAHOMA
        COLINTY OF                                  !                             )
                                                                                      ss.    (lndividual)


        On   this
                20th                    day of   February 2015                                                       ,   before me personally appeared
        Tony Doug las Lacy and Kami Faye Lacy, husband and wife
                                                         ose name is subscribed to the instrument, and acknowledged that (he or she)
                                                         as (his or her)liee and voluntary act, for the uses and purposes set forth.


State
        Wffiffi#                                                                                        lfuwrn
                                                                                                                     NOTARY PUBLIC
        NOTE:        The following is made in accordance with the Privacy Act of 1974 (5 USC 55 2a     - as amended). The authority lor
                     requesting the information identified on this form is the Consolidated Farm and Rural Development Act, as amended
                     (7 U.S.C. l92l et. seq.). The information will be used to determine eligibility ald feasibility for loans and loan
                     guarantees, and servicing ofloals and loan guarantees. The information collected on this form may be disclosed to
                     other Federal, State, and local govemment agencies, Tribal agencies, and nongovemmental e[tities that have been
                     authorizod access to the information by statute or regulation and/or as described in the applicable Routine Uses
                     identified in the System ofRecords Notice for USDA,/FSA-14, Applicant/Borrower. Providing the requested
                     information is voluntary. However, failure to fumish the requested information may result in a denial for loans and
                     loan guarantees, and servicing of loans and loan guarantees. The provisions of criminal and civil fraud, privacy, and
                     other statutes may be applicable to the information provided.

                     According to the Paperwork Reduction Act of 1995, an agency may not conduct or sponsor, and a person is not
                     required to respond ro, a collection of information unless it displays a valid OMB control number. The valid OMB
                     control numbcr for this information collection is 0560-0237. The time required to complete this information collection
                     is gstimated to average 30 minutes per response, including the time for reviewing inshuctions, searching existing data
                     sources, gathering and maintaining the data needed, ard completing and reviewing the collection of information.

        The U.S. Depanmenl ofAgriculture (USDA) prohibits discnm inalion against its customers, employees, and applicants for employmenl on $e
        basis of race, color, national origin, age, disabilily, sex, gender identity, religion, reprisal, a.nd where applicable, political beliefs, marital stalus,
        familial or parental stalus, sexual orientalion, of all or pan ofan individual's income is derived from ary public assistance program, or protected
        genetic information in employment or in any prograrn or act,vlty conducted or funded by the Departnent. CNot all prohibited bases will apply to
        all programs and/or employm€nt activities.) Persons with disabi Iities, lrho wish to file a prografi complaint, \IT ite to the address below or ifyou
        req uire altemative means ofcommunication for program information (e.g., Braille, large prin! audiotape, etc.) please contact USDA's TARGET
        Cen ter ar (202) 720-260A (yoice and TDD). Individuals who are deaf, hard ofhearrng, orhave sp€ech disabilities and wish to file either an EEO
        or program complaint, pleasc contact USDA through lhe Federal Relay Service at (800) 877-8339 or (800) 845-6136 (in Spanish).

        Ifyou wish to file a Civil Rrghts program complainl ofdiscrimination, complete the USDA Program Discrimination Complaint Form, found
        ontine at http://www.escr.uide.govlcomplaint_filinlcust.html, or at any USDA oflice, or call (866) 632-9992 to request the form You may
        also write a tetter containing all ofthe information requested in the form Send your completed complaint form or letter by mail to U.S.
                                                                                                                                                (202)
        Departmenr of Agricutture,birector, OfIlce of Adjudication, 1400 Independence Avenue, S W-, Washington, D.C. 20250-9410, by fax
        690-7442 or email at program.intake@usds.gov USDA is an equal opportunity provider and employer.




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        Case 5:18-cv-00262-SLP Document 1-4 Filed 03/23/18 Page 7 of 7
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                                                                              JoCurla
                                                                                        S[tono-rHyghes€ounty Cterk
                                  FSA-2029-OK EXHIBIT A
                                        Tony Douglas Lacy
                                         Kami Faye Lacy                       In Etr uttent         P6      70F      7
                                                                             ?rl1500DB?561
Surface Interest Only:

  The Southeast Quarter of the Southwest Quarter (SE/4 SW4) and the Southwest Quarter of the
  Southeast Quarter (SW/4 SE/4) and a tract described as beginning at the Southwest Comer ofthe
  Southeast Quarter ofthe southeast Quarter (SE/4 SE/4); thence East256 feel; thence North 256 feet;
  thence West 256 feet; thence South 256 feet to the point of beginning, all in Section Four (4),
  Township Nine (9) North, Range Three (3) East of the Indian Meridian, Pottawatomie County,
  Oklahoma,


      LESS AND EXCEPT a tract ofland described as beginning 2292.84 feet West ofthe Southeast
      Comer ofsaid Section Four (4), Township Nine (9) North, Range Three (3) East; thence
      N00'06'03'E a distance of 565.73 feett thence S89"50'47'W a distance of 670.41 feet; thence
      S00'06'l I "W a distance of 566.73 feet; thence East a distance of 670.41 feet to the point of
      beginning, and

      LESS AND EXCEPT a tract ofland in Section Four (4), Township Nine (9) North, Range Three
      (3) East ofthe Indian Meridian, Pottawatomie County, Oklahoma, described as beginning at a
      poinl2292.84 feet West and 565.73 feet N00"06'03"E ofthe Southeast comer ofsaid Section 4;
      thence N00"06'03 "E a distance of I 56.5 feet; thence S89'50'47"W a distance of 826.91 feet;
      thence 500"06'11"W a distance of 722.81 feet; thence East a distance of 156.5 feet; thence
      N00"06'1 I "E a distance of 566.73 feet; thence N89o50'47"E a distance of 670.41 feet to the point
      of beginning.

  AND

  The East Half of the Northwest Quarter of the Northwest Quarter of (E2NWNW) Section Eleven,
  Township Eight North, Range Eight East (11-8N-8E), Hughes County, Oklahoma containing 20 acres
  more or less.




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Case 5:18-cv-00262-SLP Document 1-5 Filed 03/23/18 Page 1 of 2




                                                      Exhibit 5 - Verification
Case 5:18-cv-00262-SLP Document 1-5 Filed 03/23/18 Page 2 of 2
                                     Case 5:18-cv-00262-SLP Document 1-6 Filed 03/23/18 Page 1 of 1
-65HY                                                          CIVIL COVER SHEET
7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHQRUVXSSOHPHQWWKHILOLQJDQGVHUYLFHRISOHDGLQJVRURWKHUSDSHUVDVUHTXLUHGE\ODZH[FHSWDV
SURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULVUHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKH
SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                               DEFENDANTS
UNITED STATES OF AMERICA                                                                                                                 TONY DOUGLAS LACY, ET AL.


    (b)&RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII                                                         &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW              Pottawatomie
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                         (IN U.S. PLAINTIFF CASES ONLY)
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                                                                                                                               7+(75$&72)/$1',192/9('
                                                                                                                   
    (c)$WWRUQH\V(Firm Name, Address, and Telephone Number)                                                  $WWRUQH\V(If Known)
Kay Sewell
Assistant United States Attorney, OBA #10778
210 W. Park Ave, Suite 400
Oklahoma City, OK 73102
405-553-8807 405-553-8885-FAX


II. BASIS OF JURISDICTION(Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                           and One Box for Defendant)
u  86*RYHUQPHQW                    u  )HGHUDO4XHVWLRQ                                                                      PTF           DEF                                          PTF      DEF
        3ODLQWLII                               (U.S. Government Not a Party)                         &LWL]HQRI7KLV6WDWH         u            u     ,QFRUSRUDWHGor3ULQFLSDO3ODFH       u       u 
                                                                                                                                                          RI%XVLQHVV,Q7KLV6WDWH

u  86*RYHUQPHQW                    u  'LYHUVLW\                                               &LWL]HQRI$QRWKHU6WDWH          u         u    ,QFRUSRUDWHGand3ULQFLSDO3ODFH     u       u 
        'HIHQGDQW                               (Indicate Citizenship of Parties in Item III)                                                                RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                                      &LWL]HQRU6XEMHFWRID           u         u    )RUHLJQ1DWLRQ                       u       u 
                                                                                                      )RUHLJQ&RXQWU\
IV. NATURE OF SUIT(Place an “X” in One Box Only)
           CONTRACT                                                 TORTS                                 FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
u   ,QVXUDQFH                       PERSONAL INJURY             PERSONAL INJURY         u 'UXJ5HODWHG6HL]XUH             u $SSHDO86&          u   )DOVH&ODLPV$FW
u   0DULQH                         u $LUSODQH                   u 3HUVRQDO,QMXU\           RI3URSHUW\86&          u :LWKGUDZDO                 u   6WDWH5HDSSRUWLRQPHQW
u   0LOOHU$FW                     u $LUSODQH3URGXFW                   3URGXFW/LDELOLW\   u 2WKHU                                 86&                u   $QWLWUXVW
u   1HJRWLDEOH,QVWUXPHQW                 /LDELOLW\               u +HDOWK&DUH                                                                                    u   %DQNVDQG%DQNLQJ
u   5HFRYHU\RI2YHUSD\PHQW        u $VVDXOW/LEHO	                   3KDUPDFHXWLFDO                                                PROPERTY RIGHTS                u   &RPPHUFH
       	(QIRUFHPHQWRI-XGJPHQW             6ODQGHU                         3HUVRQDO,QMXU\                                             u &RS\ULJKWV                 u   'HSRUWDWLRQ
u   0HGLFDUH$FW                   u )HGHUDO(PSOR\HUV¶                 3URGXFW/LDELOLW\                                           u 3DWHQW                     u   5DFNHWHHU,QIOXHQFHGDQG
u   5HFRYHU\RI'HIDXOWHG                 /LDELOLW\               u $VEHVWRV3HUVRQDO                                              u 7UDGHPDUN                         &RUUXSW2UJDQL]DWLRQV
       6WXGHQW/RDQV                  u 0DULQH                             ,QMXU\3URGXFW                                                                              u   &RQVXPHU&UHGLW
       ([FOXGHV9HWHUDQV            u 0DULQH3URGXFW                     /LDELOLW\                         LABOR                        SOCIAL SECURITY              u   &DEOH6DW79
u   5HFRYHU\RI2YHUSD\PHQW               /LDELOLW\                 PERSONAL PROPERTY          u   )DLU/DERU6WDQGDUGV           u   +,$II             u   6HFXULWLHV&RPPRGLWLHV
       RI9HWHUDQ¶V%HQHILWV          u 0RWRU9HKLFOH              u 2WKHU)UDXG                    $FW                           u   %ODFN/XQJ                ([FKDQJH
u   6WRFNKROGHUV¶6XLWV            u 0RWRU9HKLFOH              u 7UXWKLQ/HQGLQJ        u   /DERU0DQDJHPHQW               u   ',:&',::J       u   2WKHU6WDWXWRU\$FWLRQV
u   2WKHU&RQWUDFW                        3URGXFW/LDELOLW\        u 2WKHU3HUVRQDO                 5HODWLRQV                     u   66,'7LWOH;9,           u   $JULFXOWXUDO$FWV
u   &RQWUDFW3URGXFW/LDELOLW\     u 2WKHU3HUVRQDO                     3URSHUW\'DPDJH      u   5DLOZD\/DERU$FW              u   56,J             u   (QYLURQPHQWDO0DWWHUV
u   )UDQFKLVH                             ,QMXU\                   u 3URSHUW\'DPDJH         u   )DPLO\DQG0HGLFDO                                              u   )UHHGRPRI,QIRUPDWLRQ
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                                              0HGLFDO0DOSUDFWLFH                                    u   2WKHU/DERU/LWLJDWLRQ                                          u   $UELWUDWLRQ
        REAL PROPERTY                        CIVIL RIGHTS                PRISONER PETITIONS           u   (PSOR\HH5HWLUHPHQW              FEDERAL TAX SUITS              u   $GPLQLVWUDWLYH3URFHGXUH
u   /DQG&RQGHPQDWLRQ              u 2WKHU&LYLO5LJKWV           Habeas Corpus:                     ,QFRPH6HFXULW\$FW            u 7D[HV863ODLQWLII             $FW5HYLHZRU$SSHDORI
u   )RUHFORVXUH                    u 9RWLQJ                     u $OLHQ'HWDLQHH                                                      RU'HIHQGDQW                    $JHQF\'HFLVLRQ
u   5HQW/HDVH	(MHFWPHQW         u (PSOR\PHQW                 u 0RWLRQVWR9DFDWH                                              u ,56²7KLUG3DUW\            u   &RQVWLWXWLRQDOLW\RI
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                                              (PSOR\PHQW                 Other:                      u 1DWXUDOL]DWLRQ$SSOLFDWLRQ
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                                              2WKHU                    u &LYLO5LJKWV              $FWLRQV
                                       u (GXFDWLRQ                  u 3ULVRQ&RQGLWLRQ
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                                                                             &RQGLWLRQVRI
                                                                             &RQILQHPHQW
V. ORIGIN(Place an “X” in One Box Only)
u  2ULJLQDO               u  5HPRYHGIURP                   u      5HPDQGHGIURP            u  5HLQVWDWHGRU        u  7UDQVIHUUHGIURP            u  0XOWLGLVWULFW
    3URFHHGLQJ                 6WDWH&RXUW                             $SSHOODWH&RXUW              5HRSHQHG                  $QRWKHU'LVWULFW                 /LWLJDWLRQ
                                                                                                                                 (specify)
                                               &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                               28 U.S.C. § 1345
VI. CAUSE OF ACTION                            %ULHIGHVFULSWLRQRIFDXVH
                                               Foreclosure
VII. REQUESTED IN     u &+(&.,)7+,6,6$CLASS ACTION                                                   DEMAND $                                     &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
     COMPLAINT:          81'(558/()5&Y3                                                           310,617.18                                 JURY DEMAND:         u <HV     u 1R
VIII. RELATED CASE(S)
                       (See instructions):
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03/23/2018                                                                /s/ Kay Sewell, AUSA, OBA #10778
FOR OFFICE USE ONLY

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